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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                        *

       Plaintiff                                *

v.                                              *   CRIMINAL NO. JKB-15-0646

DONTE WILLIAMS                                  *   CIVIL NO. JKB-18-0953

       Defendant                                *

        *     *       *      *      *       *       *      *      *       *       *     *

                              MEMORANDUM AND ORDER

       Now pending before the Court is the Defendant’s MOTION UNDER 28 U.S.C. § 2255

TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A PERSON IN FEDERAL

CUSTODY (ECF No. 103). The Government has responded (ECF No. 107) and the Defendant

has replied (ECF No. 114).

       The Court has carefully reviewed the Defendant’s MOTION and his REPLY as well as`

the extensive record contained within the docket, and after careful consideration of the

Defendant’s submissions, points, and authorities, the Court concludes that the MOTION is

groundless. He has failed to demonstrate that he received ineffective assistance of counsel. The

record amply demonstrates that the Defendant’s lawyer performed at a level well above the line

drawn in Strickland v. Washington, 466 U.S. 668 (1984).          The Defendant has failed to

demonstrate any deficiency in the representation provided during the pretrial and plea

negotiation phases of the case.    The Defendant has failed to show that defense counsel’s

performance was deficient in reference to the Court’s acceptance of the Presentence Report.
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Finally, the record shows that without a doubt the Defendant was a career offender; accordingly,

there was no deficiency by counsel with respect to advocacy around career offender issues.

       For the above reasons, and for the reasons set out in the Government’s OPPOSITION

(ECF No. 107), which the Court adopts as its own, the MOTION (ECF No. 103) is DENIED.

       A certificate of appealability may issue only if the defendant has made a substantial

showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2). See also Slack v.

McDaniel, 529 U.S. 473, 484 (2000).          In order to satisfy § 2253(c), a defendant must

demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong. Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (citing Slack, 529

U.S. at 484). Defendant has failed to meet the standard for a certificate of appealability.

Therefore, it is DENIED.


       DATED this 14th day of August, 2018.


                                                     BY THE COURT:


                                                     ____________/s/______________________
                                                     James K. Bredar
                                                     Chief Judge
